            Case 5:24-cv-09470-BLF            Document 116   Filed 02/24/25   Page 1 of 2




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12                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
13                                         SAN JOSE DIVISION
14
15   IN RE PAYPAL HONEY BROWSER                          Case No. 5:24-cv-9470-BLF
16   EXTENSION LITIGATION
                                                         NOTICE OF PENDENCY OF OTHER
17                                                       ACTIONS OR PROCEEDINGS

18                                                       Civ. L.R. 3-13
19
                                                         Hon. Beth Labson Freeman
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                     NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS
                                    CASE NO. 5:24-cv-9470-BLF
          Case 5:24-cv-09470-BLF           Document 116          Filed 02/24/25        Page 2 of 2




 1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 3-13, this action involves
 3   overlapping defendants and a material part of the same subject matter as Luong v. Paypal Holdings
 4   Inc., et al., No. 3:25-cv-00102-TKW-HTC (N.D. Fla. filed Feb. 11, 2025). The complaint in the Luong
 5   action is attached hereto as Exhibit A. Like Plaintiffs in this action, the plaintiff in the Luong action
 6   alleges that Paypal uses the Honey browser extension to misappropriate sales commissions that should
 7   be awarded to online marketers. Id. ¶¶ 17-30. Like Plaintiffs here, plaintiff in the Loung action asserts
 8   causes of action against Paypal for conversion, tortious interference, unjust enrichment, and injunctive
 9   relief on behalf of an overlapping class. Id. ¶¶ 31-59, 93-100.
10          The Luong case has been assigned to U.S. District Judge T. Kent Wetherell, II of the Northern
11   District of Florida. Given that the present action and the Luong action arise out of the same or similar
12   alleged conduct and assert overlapping claims, Plaintiffs believe coordination may avoid conflicts,
13   conserve resources, and promote an efficient determination of the common questions presented. See
14   Civ. L.R. 3-13(b)(3)(B); Cobarruviaz v. Maplebear, Inc., No. 15-CV-00697-EMC, 2016 WL 5725076,
15   at *2 (N.D. Cal. Sept. 30, 2016).
16
17   Dated: February 24, 2025                                Respectfully submitted,

18                                                           By:    /s/ Adam E. Polk
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                                   CASE NO. 5:24-cv-9470-BLF
